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 5                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WASHINGTON
 6                                     AT SEATTLE

 7   TELECOMMUNICATION SYSTEMS, INC.,

 8                                    Plaintiff,

            v.                                          Case Nos. 2:19-cv-00336-RAJ-BAT
 9
                                                                  2:19-cv-00644-RAJ-BAT
     LYNNE HOUSERMAN and MOTOROLA
10   SOLUTIONS, INC.,
11                                                      ORDER GRANTING STIPULATED
                                                        MOTION AND ORDER TO UNSEAL
                                Defendants.
12                                                      DOCUMENTS
     ______________________________________
13   LYNNE HOUSERMAN,

14                                    Plaintiff,

            v.
15
     COMTECH TELECOMMUNICATIONS
16   CORPORATION, FRED KORNBERG, AND
     MICHAEL D. PORCELAIN,
17
                                      Defendants.
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19          Pursuant to Local Civil Rule 5(g)(8), Telecommunications Systems, Inc., Comtech

20   Telecommunications Corp., Fred Kornberg, and Michael Porcelain (collectively, “Comtech”),

21   and Lynne Houserman and Motorola Solutions, Inc. (“MSI”) (all parties collectively, the

22   “Parties”) move the Court to unseal (a) Houserman and MSI’s LCR 37(a)(2) Expedited Joint

23   Submission Regarding Comtech’s Outstanding Discovery Responses (Dkt. 75 in


     ORDER GRANTING STIPULATED MOTION
     TO UNSEAL DOCUMENTS - 1
            Case 2:19-cv-00336-RAJ-BAT Document 90 Filed 09/28/20 Page 2 of 2




 1   Telecommunication Systems, Inc. v. Houserman and Motorola Solutions, Inc., Case No. 19-cv-

 2   00336 (the “TSYS Case”), and Dkt. 90 in Houserman v. Comtech Telecommunications Corp.,

 3   Case No. 19-cv-00644 (the “Houserman Case”)); and (b) Exhibit I to the Declaration of Kristin

 4   W. Silverman in support of same (Dkt. 76 in the TSYS Case, Dkt. 91 in the Houserman Case).

 5   Houserman and MSI also filed notices to withdraw their Motions to Seal (Dkt. 89 in the TSYS

 6   Case, Dkt. 100 in the Houserman Case).

 7          Accordingly, it is ORDERED that the parties’ Stipulated Motions (Dkt. 99 in the

 8   Houserman Case and Dkt. 88 in the TSYS Case) are GRANTED; the Clerk of Court is directed

 9   to UNSEAL the versions of the Joint Submission and Silverman Declaration presently under

10   seal (Dkts. 75 and 76 in the TSYS Case and Dkts. 90 and 91 in the Houserman Case,

11   respectively).

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            DATED this 28th day of September, 2020.
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15                                                      A
                                                        BRIAN A. TSUCHIDA
                                                        Chief United States Magistrate Judge
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     ORDER GRANTING STIPULATED MOTION
     TO UNSEAL DOCUMENTS - 2
